Case 1:23-cv-00135-GBW Document 20 Filed 05/12/23 Page 1 of 2 PageID #: 1983




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

 GETTY IMAGES (US), INC.,                       )
                                                )
                            Plaintiff,          )
                                                )
            v.                                  )           C.A. No. 23-135-GBW
                                                )
 STABILITY AI, INC.,                            )
                                                )
                             Defendant.         )

                                          NOTICE OF SERVICE

           PLEASE TAKE NOTICE that on May 11, 2023, the following were served on the

counsel listed below in the manner indicated:

           1) Plaintiff’s Jurisdictional Interrogatories to Defendant Stability AI, Ltd.

        2) Plaintiff’s Jurisdictional Requests for the Production of Documents to Defendant Stability
AI, Ltd.

           3) Plaintiff’s Jurisdictional Interrogatories to Defendant Stability AI, Inc.

           4) Plaintiff’s Jurisdictional Requests for the Production of Documents to Defendant Stability
AI, Inc.

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       PLEASE TAKE FURTHER NOTICE that on May 12, 2023, a copy of this Notice of

Service was electronically filed with the Clerk of the Court using CM/ECF and will be served by

email on the counsel listed above.

Dated: May 12, 2023                          YOUNG CONAWAY STARGATT
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